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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                               717 MADISON PLACE, N.W.
                               WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                       CLERK’S OFFICE
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                                   October 21, 2024

                             2024-1504 - CVB, Inc. v. US

                     NOTICE OF NON-COMPLIANCE
The documents Amicus Brief, Entry of Appearance submitted by The Customs and
International Trade Bar Association are not in compliance with the rules of this
court. Within five business days from the date of this notice, please submit a
corrected version of these documents correcting the following:

Amicus Curiae Brief

   •   The contents of the brief do not appear in the correct order: the certificate of
       interest; the table of contents with page references; the table of authorities
       with page references; the statement of related cases; any jurisdictional
       statement; any statement of the issues; any statement of the case; the
       summary of the argument; the argument, including any statement standard
       of review under its own heading; the conclusion and statement of relief
       sought; the addendum; and the certificate of compliance, if required by Fed.
       R. App. P. 32(g)(1). Fed. Cir. R. 28(a); Fed. Cir. R. 28.1(d).

[Clerk’s note: Form 9A should not be included in the brief.]

Entry of Appearance

   •   The contact information for Emily R. Beline on the form does not match the
       information associated with the user's account. Please ensure the corrected
       appearance form contains up-to-date contact information. If that information
       differs from the information associated with the user's account, please also
       update that information through the PACER Service Center. Fed. Cir. R.
       25(a)(5).


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If applicable, the deadline for the next or responsive submission is computed from
  the original submission date, not the submission date of the corrected version.

  When filing the corrected document, please include the word "Corrected" in the
 document title or on the cover. See Fed. Cir. R. 25(c)(4) and Fed. Cir. R. 25(i) for
                     information concerning corrected filings.

A party's failure to timely file a corrected document curing all defects identified on
this notice may result in the original document being stricken from the docket. An
appellant's failure to cure a defective filing may also result in the dismissal of the
                       appeal pursuant to Fed. R. App. P. 31(c).


                                               FOR THE COURT




                                               By: J. Phillips, Deputy Clerk
